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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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COURT OF INQUIRY

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Judicial District Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Cass County, Texas

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No. 08-C-563

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Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion by Justice Carter








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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; John Wayne
Charleston attempts to appeal the ruling of the Fifth Judicial District Court
of Cass County made in connection with a court of inquiry conducted pursuant to
Chapter 52 of the Texas Code of Criminal Procedure.&nbsp; Because the Legislature has not provided a
right of appeal, we dismiss this appeal for want of jurisdiction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On April 14,
2010, the Fifth Judicial District Court convened a court of inquiry to
investigate whether the assistant district attorney of Cass County had modified
the indictment entered in the cause.&nbsp; On
June 1, 2010, the court found there was no modification or fraudulent
alteration of the indictment and dissolved the court of inquiry.&nbsp; That is the order from which Charleston
appeals.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A court of
inquiry is a criminal proceeding authorized by and conducted according to
Chapter 52 of the Texas Code of Criminal Procedure.&nbsp; See
Tex. Code Crim. Proc. Ann. art.
52.01–.09 (Vernon 2006).&nbsp; When a district
judge, acting in his capacity as magistrate, has probable cause to believe that
an offense has been committed against the laws of this state, he or she may
request that the presiding judge of the administrative judicial district
appoint a district judge to commence a court of inquiry.&nbsp; Tex.
Code Crim. Proc. Ann. art. 52.01(a).[1]&nbsp; The appointed judge may summon and examine
any witness in relation to the offense in accordance with the procedural rules
established in Chapter 52.&nbsp; Id.&nbsp;
If it appears from a court of inquiry that an offense has been
committed, the judge shall issue a warrant for the arrest of the offender as if
the complaint had been made and filed.&nbsp; Tex. Code Crim. Proc. Ann. art.
52.08.&nbsp; However, Chapter&nbsp;52 does not
provide for an appeal from the judge’s determination.&nbsp; In re
Court of Inquiry, 148 S.W.3d 554, 555 (Tex. App.—El Paso 2004, no
pet.).&nbsp; A party may appeal only that
which the Legislature has authorized.&nbsp; Olowosuko v. State, 826 S.W.2d 940, 941
(Tex. Crim. App. 1992);&nbsp;McCarver v.
State, 257 S.W.3d 512 (Tex. App.—Texarkana 2008, no pet.).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In the
absence of statutory authorization for an appeal from the magistrate’s
determination made in connection with the court of inquiry, we conclude that
Charleston does not have a right of appeal.&nbsp;
Therefore, we dismiss the appeal for want of jurisdiction.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jack
Carter

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Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; October
5, 2010&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; October
6, 2010

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Publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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[1]A
court of inquiry is authorized when a judge of a district court has probable
cause to believe that an offense has been committed.&nbsp; Before requesting the appointment of a judge
to conduct a court of inquiry, the judge must file a sworn affidavit stating the
substantial facts establishing probable cause that a specific offense has been
committed.&nbsp; Tex. Code Crim. Proc. Ann. art. 52.01(b)(1).&nbsp; Here, the judge appointed to conduct the
court of inquiry implicitly found that no such affidavit was filed; therefore,
Charleston did not have standing to raise or file such a complaint.&nbsp; We agree.&nbsp;
Even if an appeal were authorized, without a district court finding of
probable cause and an affidavit establishing such, Charleston had no standing
to require a court of inquiry proceeding.&nbsp;








